16 F.3d 409NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Terry Wendell COPELAND, Plaintiff Appellant,v.BALTIMORE CITY JAIL;  Baltimore City Jail RecordsDepartment;  Maryland Division of Correction,Defendants Appellees.
    No. 93-6626.
    United States Court of Appeals, Fourth Circuit.
    Submitted Jan. 20, 1994.Decided Feb. 4, 1994.
    
      Appeal from the United States District Court for the District of Maryland, at Baltimore.  Frederic N. Smalkin, District Judge.  (CA-93-1554-S).
      Terry Wendell Copeland, Appellant Pro Se.
      D.Md.
      AFFIRMED.
      Before WIDENER, WILKINS, and HAMILTON, Circuit Judges Judges.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Copeland v. Baltimore City Jail, No. CA-93-1554-S (D. Md. June 7, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    